Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     LOWELL                                                           JOLENE
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        JAMES                                                            KAY
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   GULLEY                                                           GULLEY
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years LOWELL J GULLEY                                                       JOLENE K GULLEY
                                   LOWELL GULLEY                                                    JOLENE GULLEY
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-3355                                                      xxx-xx-6986
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 2   JOLENE KAY GULLEY                                                                        Case number (if known)




                                 About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                  I have not used any business name or EINs.
     used in the last 8 years
                                 SAN JOSE CONTRACTING, INC.
     Include trade names and     Business name(s)                                            Business name(s)
     doing business as names
                                 XX-XXXXXXX
                                 EINs                                                        EINs




5.   Where you live                                                                          If Debtor 2 lives at a different address:

                                 1333 W PECOS AVENUE                                         254 W SEAGULL PLACE
                                 Mesa, AZ 85202                                              Chandler, AZ 85286
                                 Number, Street, City, State & ZIP Code                      Number, Street, City, State & ZIP Code

                                 Maricopa                                                    Maricopa
                                 County                                                      County

                                 If your mailing address is different from the one           If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any   in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                     mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code            Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                  Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any              have lived in this district longer than in any other
                                       other district.                                               district.

                                       I have another reason.                                        I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




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Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District    ARIZONA                       When     1/19/17                Case number      17-00532
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Debtor 2    JOLENE KAY GULLEY                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11          No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).                        Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts
                                           INCLUDES TAX DEBT


17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                    are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Lowell James Gulley                                        /s/ Jolene Kay Gulley
                                 LOWELL JAMES GULLEY                                               JOLENE KAY GULLEY
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     02/22/2017                                        Executed on     02/22/2017
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Harold E. Campbell                                             Date         02/22/2017
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Harold E. Campbell
                                Printed name

                                CAMPBELL & COOMBS, P.C.
                                Firm name

                                1811 S. Alma School Road, Suite 225
                                Mesa, AZ 85210
                                Number, Street, City, State & ZIP Code

                                Contact phone     480-839-4828                               Email address         heciii@haroldcampbell.com
                                005160
                                Bar number & State




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ADVANCED SURGICAL ASSOC.
2945 S. DOBSON RD.
MESA AZ 85202


AMERICAN EXPRESS
P.O. BOX 650448
DALLAS TX 75265


AMERICAN EXPRESS
PO BOX 981535
EL PASO TX 79998


AMEX
CORRESPONDENCE
PO BOX 981540
EL PASO TX 79998


ANDREW TORRES
1032 S WANDA DRIVE
GILBERT AZ 85296


ARIZONA DEPARTMENT OF REVENUE
P.O. BOX 29070
PHOENIX AZ 85038


BANK OF AMERICA
NC4-105-03-14
PO BOX 26012
GREENSBORO NC 27410


BARCLAYS BANK DELAWARE
PO BOX 8801
WILMINGTON DE 19899


BMW FINANCIAL SERVICES
ATTN: BANKRUPTCY DEPARTMENT
PO BOX 3608
DUBLIN OH 43016


BUCK GULLEY
1333 W PECOS AVENUE
MESA AZ 85202




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CALIFORNIA FRANCHISE TAX BOARD
P.O. BOX 942867
SACRAMENTO CA 94240


CAPITAL ONE
PO BOX 30285
SALT LAKE CITY UT 84130


CAPITAL ONE
P.O. BOX 26625
RICHMOND VA 23261


CHASE
P.O. BOX 15548
WILMINGTON DE 19886-5548


CHASE CARD SERVICES
ATTN: CORRESPONDENCE DEPT
PO BOX 15298
WILMINGTON DE 19850


CHRISTOPHER LARGE
8112 E JUANITA AVENUE
MESA AZ 85209


CHRISTOPHER ROBLES
3529 YELLOW ROSE STREET
EL PASO TX 79936


CITIBANK
CITICORP CREDIT SERVICES/ATTN: CENTRALIZ
PO BOX 790040
SAINT LOUIS MO 63179


CITY OF APACHE JUNCTION
300 E. SUPERSTITION BLVD.
APACHE JUNCTION AZ 85219


CITY OF AVONDALE
TAX DEPARTMENT
11465 W CIVIC CENTER DRIVE, STE 280
AVONDALE AZ 85323




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CITY OF CHANDLER
TAX & LICENCE DIVISION
MAIL STOP 701, P.O. BOX 4008
CHANDLER AZ 85244-4008


CITY OF FLAGSTAFF
TAX AND LICENSE DIVISION
211 W. ASPEN AVENUE
FLAGSTAFF AZ 86001


CITY OF GLENDALE
PRIVILAGE TAX SEC
P.O. BOX 800
GLENDALE AZ 85311


CITY OF MESA
P.O. BOX 1466
MESA AZ 85211-1466


CITY OF PEORIA
TAX AND LICENSE SECTION
8401 W MONROE STREET
PEORIA AZ 85345


CITY OF PHOENIX
PRIVILEGE (SALES) TAX LICENSE
251 W. WASHINGTON ST, 9TH FLOOR
PHOENIX AZ 85003


CITY OF SCOTTSDALE
TAX AND LICENSE REGISTRATION
3939 N. DRINKWATER BLVD.
SCOTTSDALE AZ 85251


CITY OF TEMPE
P.O. BOX 29617
PHOENIX AZ 85038-9617


CITY OF TUCSON
103 E. ALAMEDA ST.
P.O. BOX 27210
TUCSON AZ 85726-7210


CLAYDON LLC
1687 E LINDA LANE
GILBERT AZ 85234

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COMENITY BANK/VICTORIA SECRET
PO BOX 18215
JEFFERSONVILLE OH 43128


COMMERCE BANK KANSAS
PO BOX 419248 KCREC-10
KANSAS CITY MO 64179


COOPER BAKER
2450 E FOUNTAIN STREET
MESA AZ 85213


DEETO SST
PO BOX 23060
COLUMBUS GA 31902-3060


DESERT STAR WINDOWS LLC
9300 MOUNTAIN AVENUE
EL PASO TX 79925


DISCOVER FINANCIAL
PO BOX 3025
NEW ALBANY OH 43054


DZURINKO CONSULTING, INC.
11680 E SAHUARO DR
SCOTTSDALE AZ 85259


GUSTAVO ALVARADO
11976 OAK ABBEY CT
EL PASO TX 79936


INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA PA 19101-7346


INVESTORS WARRANTY OF AMERICA, INC.



IRS
210 E. EARL DRIVE
PHOENIX AZ 85003




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JESSICA OSBORN
150 S ROOSEVELT ROAD, APT 3035
MESA AZ 85202


JOE DZURINKO
11445 E. VIA LINDA
STE 2, PMB615
SCOTTSDALE AZ 85259


JOHN ESCOBAR
3104 GASTON DRIVE
EL PASO TX 79935


KABBAGE
PO BOX 77081
ATLANTA GA 30357


KAY JEWELERS/STERLING JEWELERS INC.
STERLING JEWELERS
PO BOX 1799
AKRON OH 44309


KELSI ANDERSON
726 E UNIVERSITY DR
MESA AZ 85203


LAURIE KELLY
835 W MAIN STREET, LOT 3
MESA AZ 85201


LOWELL GULLEY
1922 E WASHINGTON AVENUE
GILBERT AZ 85234


MARTIN RIOS
44286 W CYPRESS LANE
MARICOPA AZ 85138


MATTHEW MARTINEZ
4165 E SUPERSTITION BLVD
APACHE JUNCTION AZ 85119


MIKE CUMMINGS
456 DUBLIN
CHANDLER AZ 85225

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NATIONSTAR MORTGAGE
8950 CYPRESS WATERS BLVD
COPPELL TX 75019


NORDSTROM FSB
CORRESPONDENCE
PO BOX 6555
ENGLEWOOD CO 80155


NUSSBAUM GILLIS & DINNER PC
14850 N SCOTTSDALE RD, SUITE 450
SCOTTSDALE AZ 85254


OCWEN LOAN SERVICING LLC
ATTN: RESEARCH DEPT
1661 WORTHINTONG ROAD STE 100
WEST PALM BEACH FL 33409


PAUL GREEN
4149 E DOUGLAS AVENUE
GILBERT AZ 85234


RELIANCE MANAGEMENT
2122 E. HIGHLAND AVE. #400
PHOENIX AZ 85016


ROBERT DEAL
3424 RUNNING DEER
EL PASO TX 79936


SHELLY PEARSON
1922 E WASHINGTON AVENUE
GILBERT AZ 85234


SST/COLUMBUS BANK & TRUST
ATTN: BANKRUPTCY DEPT
PO BOX 3997
SAINT JOSEPH MO 64503


SYNTER RESOURCE GROUP
PO BOX 63247
NORTH CHARLESTON SC 29419




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TEXAS FRANCHISE TAX
PO BOX 149359
AUSTIN TX 78714-9359


US BANK/RMS CC
CARD MEMBER SERVICES
PO BOX 108
SAINT LOUIS MO 63166


WELLS FARGO BANK CARD
MAC F82535-02F
PO BOX 10438
DES MOINES IA 50306


WINDOWMART
PO BOX 570
ROYAL AR 71968




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